
PER CURIAM.
Granted. Relator’s affidavits assert that defendant released dangerous chemicals at night by venting lines and washing drums near his work site, with full knowledge obtained at safety meetings and from other complaints that the release of such chemi*559cals would cause damage to persons and property in the area at the time of release. These affidavits establish a genuine issue of material fact on the question of whether defendant knew that injury was substantially certain to result from its continued operation of the plant without substantial changes. Accordingly, the judgments of the lower courts are reversed, the motion for summary judgment is denied, and the case is remanded for further proceedings.
MARCUS, WATSON and COLE, JJ., dissent, being of the opinion that the application should be denied.
